           Case 8:05-cr-00481-SDM-E_J Document 448 Filed 02/16/07 Page 1 of 5 PageID 1336
'   A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                     UNITED STATES DISTRICT COURT
                                                                 MIDDLE DISTRICT OF FLORIDA
                                                                      TAMPA DIVISION


                                                                                     AMENDED
    UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE

                                                                          CASE NUMBER:       8:05-cr-481-T-23EAJ
                                                                          USM NUMBER:        48528-018
    VS.




    CARMEN YUDITH DELEON
                                                                          Defendant's Attorney: Pedro Amador, Jr., cja

    THE DEFENDANT:

    -
    X pleaded guilty to count ONE of the Indictment.


    TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                     COUNT

    18 U.S.C. $371                            Conspiracy to Commit Mail Fraud              January 6, 2003                   ONE


            The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
    Sentencing Reform Act of 1984.

    -
    X Count FOUR is dismissed in accordance with the plea agreement.

    IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
    of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

    If ordered to pay restitution, the defendant must not@ the court and United States Attorney of any material change in economic
    circumstances.


                                                                                           Date of Inlposition of Sentence: November 13, 2006




                                                                                               STEVEN D. MERRYDAY                         1
                                                                                          UNITED STATES DISTRICT JUDGE

                                                                                          DATE: February     /a.    2007.
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A 0 245B (Rev. 06/05) Sheet 4 - Probation (Judgment in a Criminal Case)
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Defendant :           CARMEN YUDITH DELEON                                                                  Judgment - Page 2 of 5--
Case No. :            8:05-cr-48 1-T-23EAJ
                                                                          PROBATION

The defendant is hereby placed on probation for a term of THIRTY-SIX (36) MONTHS.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
           of future substance abuse.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
           days of each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance, or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer:
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or personal. history. or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance wlth such not~ficationrcqulrement.
        Case 8:05-cr-00481-SDM-E_J Document 448 Filed 02/16/07 Page 3 of 5 PageID 1338
A 0 245B (Rev 06/05)Sheet 4C - Probation (Judgment in a Criminal Case)
                                        -          -




Defendant:           CARMEN YUDITH DELEON                                                         Judgment - Page 3 of 5
Case No.:            8 :05-cr-481-T-23EAJ




                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of probation:

X
-         The defendant shall participate in the Home Detention program for a period of           Six (6) Months . During this time,
          defendant will remain at defendant's place of residence except for employment and other activities approved in advance by
          the defendant's Probation Officer. Defendant will be subject to the standard conditions of Home Detention adopted for use
          in the Middle District of Florida. The defendant is not required to wear the electronic monitoring device. Further, the
          defendant shall be required to contribute to the costs of services for such monitoring not to exceed an amount determined
          reasonable by the Probation Officer based on ability to pay (or availability of third party payment) and in conformance with
          the Probation Office's Sliding Scale for Electronic Monitoring Services.

X
-         The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
          obligating herself for any major purchases without approval of the probation officer.

X
-         The defendant shall provide the probation officer access to any requested financial information.

X
-         If the defendant is deported, she shall not re-enter the United States without the express permission of the appropriate
          governmental authority, currently the United States Department of Homeland Security.
         Case 8:05-cr-00481-SDM-E_J Document 448 Filed 02/16/07 Page 4 of 5 PageID 1339
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           CARMEN YUDITH DELEON                                                                      Judgment - Page 4 of 5
Case No.:            8:05-cr-481-T-23EA.J


                                                 CRIMINAL MONETARY PENALTIES


          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessment                                 -
                                                                           Fine                         Total Restitution


           Totah:               $100.00                                    $ waived                     $10,000.00



-         The determination of restitution is deferred until                    .    An Anwzded Judgnzent in a Cri~nirzalCase ( A 0 245C) will
          be entered after such determination.

-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U. S. C. 9
           3664(i), all non-federal victims must be paid before the United States.



Name of Pavee                                        Total Loss*                     Restitution Ordered               Prioritv or Percentage

Atlanta Casualty Insurance                           $                               $10,000.00
600 S. North Lake Boulevard
Suite 230,
Altamonte, FL 32701


                                Totals:              li-                             $lO.O00.00

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 5 3612(f). All of the payment optlons on Sheet
            6 may be subject to penalties for delinquency and deiult, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine                     - restitution.
          -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
         Case 8:05-cr-00481-SDM-E_J Document 448 Filed 02/16/07 Page 5 of 5 PageID 1340
A 0 235B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           CARMEN YUDITH DELEON                                                             Judgment - Page 5-      of 5--
Case No. :           8:05-cr-481-T-23EAJ


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                     Lump sum payment of $ 100.00 (special assessment) due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C, - D, - E or - F below; or
                     Payment to begin immediately; (see C and E).
                     Payment in equal monthly installments of $ 100.00 ; (see E)
                     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $               over a
                     period of
                                  , (e.g ., months or years) to commence                     (e.g. 30 or 60 days) after release
                     from imprisonment to a term of supervision; or
                     Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
                     Special instructions regarding the payment of criminal monetary penalties:
                     Restitution: $10.000.00
                     At any time durin the course of su ervision, the victim, the government, or the defendant may notify the
                                            B                       F
                     Court of a materia change in the de endant's ability to pay, and the Court may adjust the payment schedule
                     accordingly.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during ~mprisonment. All criminal monetary penalties, except those payments made through the Federal
gureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X
-         Joint and Several with Co-defendant Ireno Luis Delgado (1); Case No. 8:05-cr-481-T-23EA.J; $10,000.00



-         The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
-         The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
